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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 BERKLEY INSURANCE CO., et al.,

                         Plaintiffs,                 Case No. 1:13-cv-1053-RCL

                 v.

 THE FEDERAL HOUSING FINANCE
 AGENCY, et al.,

                         Defendants.

 IN RE FANNIE MAE/FREDDIE MAC
 SENIOR PREFERRED STOCK
 PURCHASE AGREEMENT CLASS                            Case No. 1:13-mc-1288-RCL
 ACTION LITIGATIONS
 _______________________________

 This document relates to:
 ALL CASES


                                       [PROPOSED] ORDER

         Upon consideration of Plaintiffs’ Motion in Limine to Preclude Defendants From Making

Any Price Recovery Arguments in Their Closing Argument, and any opposition thereto, and for

the reasons stated in Plaintiffs’ motion, it is hereby,

         ORDERED that Plaintiffs’ motion is GRANTED.



Dated:                                                       BY THE COURT:

                                                             __________________________
                                                             Royce C. Lamberth,
                                                             United States District Judge
